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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:16CR68

       vs.
                                                                        ORDER
STEPHANIE HILL,

                       Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND FILING
DEADLINE FOR PRETRIAL MOTIONS [35]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 31-day extension. Pretrial
Motions shall be filed by May 23, 2016.
       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND FILING DEADLINE FOR PRETRIAL
MOTIONS [35] is granted. Pretrial motions shall be filed on or before May 23, 2016.
       2.      The defendant is ordered to file the affidavit required by NECrimR 12.1(a)
regarding speedy trial as soon as practicable.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between today’s date and May 23, 2016, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).


       Dated this 22nd day of April, 2016

                                                      BY THE COURT:
                                                      s/ F.A. Gossett, III
                                                      United States Magistrate Judge
